                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION


COMPOSITE RESOURCES, INC.,
                                           Civ. Action No. 3:17-CV-00072-MOC-DSC
                Plaintiff,

      vs.                                          NOTICE OF REQUEST FOR
                                                   PROTECTION FROM COURT
COMBAT MEDICAL SYSTEMS, LLC                            APPEARANCES
and ALPHAPOINTE,

                Defendants.


      Marcus A. Manos, co-counsel for the Plaintiff Composite Resources, Inc., hereby

requests protection from Court appearances in the above-captioned case from June 10

through June 29, 2020. Counsel is scheduled to have lumbar spine surgery June 10.

Assuming no complications and a normal recovery path according to his surgeon will be

able to return to work June 29, 2020. Mr. Manos will be in a back brace and unable to

stand for extended periods of time or drive from June 29 through July 24, 2020, and my

request for accommodations from the Court for those limitations should any

appearances be scheduled during that time.

      He consulted with counsel for all other parties and they do not object.

                                             Respectfully submitted,

                                                    s/ Marcus A. Manos
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                                    Attorneys for Plaintiff
June 4, 2020                        Composite Resources, Inc.




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                              CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing Notice of Request For Protection From

Court Appearances will be served on the following individuals by electronic filing on

this 4th day of June, 2020.

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